
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 94-2241

                             GETTY PETROLEUM CORPORATION,

                                 Plaintiff, Appellee,

                                          v.

                              ARIS GETTY, INC., ET AL.,

                                Defendants, Appellees.

                                 ____________________


                          J.P. NOONAN TRANSPORTATION, INC.,

                                Defendant, Appellant.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Douglas P. Woodlock, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________
                      Aldrich and Bownes, Senior Circuit Judges.
                                          _____________________

                                 ____________________


            Natasha  C.  Lisman  with whom  William  L.  Boesch  and Sugarman,
            ___________________             ___________________      _________
        Rogers, Barshak &amp; Cohen, P.C. were on brief for appellant.
        _____________________________
            Dimitrios Ioannidis  with whom  Michael S. Field, Beth  Pirro Cook
            ___________________             ________________  ________________
        and  Field &amp; Schultz were on brief  for appellees Aris Getty, Inc., et
             _______________
        al.

                                 ____________________

                                    June 13, 1995
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                      ALDRICH,  Senior  Circuit Judge.    Two defendants,
                                _____________________

            J.P. Noonan Transportation, Inc.,  a common carrier, and Aris

            Getty, Inc., jointly with its owner, George Varelis ("Aris"),

            were found liable to Getty Petroleum Corporation ("Getty"), a

            well-known  vendor  of gasoline,  under  the  Lanham Act,  15

            U.S.C.      1114  and   1125,  for   trademark  infringement.

            Plaintiff's  damages were  settled via  separate negotiations

            with each defendant.   Noonan then cross-claimed against Aris

            for  indemnification.   In  a thorough  opinion the  district

            court disagreed and  granted summary judgment  for Aris.   We

            affirm.

                      The facts are simple.   In 1981 Varelis formed Aris

            Getty, Inc., and  was licensed  by Getty to  operate a  Getty

            filling station.   It  prominently displayed the  usual Getty

            pole  sign, and  its gasoline  pumps and  service attendants'

            uniforms  bore the  Getty  name  and  marks.    Aris  had  an

            arrangement with a local distributor to supply  it with Getty

            gasoline.   In  1984  Aris terminated  its relationship  with

            Getty  and thereafter  began to  purchase  unbranded gasoline

            through  J.P. Noonan  from  another distributor.   Except  to

            change  the markings on its pumps to "Aris Gas," Aris made no

            change in  the appearance of its station,  signs, or employee

            uniforms.

                      The  court found  that Noonan  "knowingly delivered

            unbranded gasoline to Aris Getty" while fully aware that Aris



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            "was not an authorized Getty franchise."  Although it murmurs

            at  the  court's  conclusion,  Noonan  knew  that  many  Aris

            customers believed  they were receiving Getty  gasoline.  Any

            other  contention  would be  fanciful.   Thus,  as  the court

            found, Noonan, jointly with Aris, violated the Lanham Act, 15

            U.S.C.    1114(1),  and  was   contributorially  responsible.

            Inwood Laboratories Inc. v. Ives Laboratories, Inc., 456 U.S.
            ________________________    _______________________

            844 (1982).

                           [L]iability       for      trademark
                      infringement can extend beyond  those who
                      actually  mislabel goods with the mark of
                      another.  Even if a manufacturer does not
                      directly  control others in  the chain of
                      distribution, it can be  held responsible
                      for  their  infringing  activities  under
                      certain  circumstances.     Thus,  if   a
                      manufacturer or distributor intentionally
                      induces another to infringe  a trademark,
                      or if it continues  to supply its product
                      to  one whom  it knows  or has  reason to
                      know    is    engaging    in    trademark
                      infringement,    the   manufacturer    or
                      distributor      is      contributorially
                      responsible for any harm done as a result
                      of the deceit.

            456 U.S. at 853-54.

                      It is true that,  as a distributor, Noonan  did not

            have title to the  gasoline.  However, it had,  and supplied,

            an essential factor -- physical possession of the property to

            which the trademark was  to be attached.  Liability  -- which

            is not questioned -- was thus direct, for an affirmative act,

            and not merely vicarious by  operation of law for the  act of

            another.



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                      In this circumstance  Noonan's much  cited case  of

            Garbincius  v. Boston  Edison Co.,  621  F.2d 1171  (1st Cir.
            __________     __________________

            1980), is of no assistance to it, but quite the contrary.  In

            general indemnity is not allowed when liability is based upon

            one's own fault.1

                      Noonan claims  two other  strings to its  bow, both

            based  on the great disparity  between Aris's profits and its

            own meager ones.   We  assume the disparity.2   However,  the

            Massachusetts court's dictum of a claimed  indemnitee's fault

            being  disregardable in  "exceptional  cases" is  limited  to

            fault that  is  "insignificant in  relation  to that  of  the

            indemnitor."   Rathbun v. Western Massachusetts Electric Co.,
                           _______    __________________________________

            395 Mass.  361, 364, 479 N.E.2d 1383, 1385 (1985).  We regard

            this as  relating to conduct, not  to profits.  We  could not

            label  wrongful   delivery  for  five   years  insignificant.

            Equally we see  no basis  for Noonan's claim  that its  small


                                
            ____________________

            1.        Indemnity is permitted only when one does
                      not  join in  the  negligent  act but  is
                      exposed   to   derivative  or   vicarious
                      liability   for   the  wrongful   act  of
                      another.   In  such cases  the  court has
                      held  that  plaintiffs  in the  indemnity
                      actions  had  no  participation   in  the
                      negligence of the defendants.

            Garbincius, 621 F.2d at 1176 (citation omitted).
            __________

            2.  How Aris succeeded in obtaining a much smaller settlement
            figure than Noonan  escapes us, but  we think it  irrelevant.
            These were independent agreements, separately arrived at, and
            there  is  no question  of  Noonan's  payment having  reduced
            Aris's.

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            profits were "special circumstances"  that implied a right of

            indemnity.  If  Noonan wanted protection it could  have asked

            for it as part of its contract.

                      Affirmed.
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